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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MISSOURI
                         EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
    Plaintiff,            )
                          )
v.                        )                 No. 4:17 CR 00404 HEA
                          )
MICHAEL GRADY, et. al.,                     )
    Defendant.            )



       MICHAEL GRADY’S PROPOSED VOIR DIRE QUESTIONS

      Michael Grady, through his attorneys, Quinn A. Michaelis and Joshua

B. Adams, pursuant to Rule 24(a) of the Federal Rules of Criminal Procedure,

requests that the Court include the attached questions in its general voir dire

of the jurors in order that the defense may effectively exercise its challenges

for cause and its peremptory challenges:

PERSONAL

1.    Most people believe that there are two sides to every story. If you
were to serve as a       juror in this case would you expect both sides to
present evidence? Would you expect the defendant to testify?
      If yes, please explain.

2.    Every defendant is presumed innocent and cannot be convicted unless
the jury, based solely on all the evidence in this case, unanimously decides
that guilt has been proven     beyond a reasonable doubt. The burden of
proving guilt rests entirely with the            government. The defendants
have no burden of proof at all. What is your opinion of     this?


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3.    If you conclude that the government has not proven a charge beyond a
reasonable doubt,        would you be able to find a defendant not guilty of
that charge, even if that defendant has not presented any evidence?
      If yes, please explain.

4.    At least one law enforcement agent is expected to testify during this
      trial. Can you give a law enforcement agent’s testimony the same
      weight as any other witness? Or will you give the law enforcement
      agent’s testimony greater weight simply because of his position?


5.    Does the fact that the United States has brought charges in this case
      cause you to think that the charges are therefore justified or that you
      will give the government the benefit of the doubt for that reason?

6.    I’m going to read you the following statement and ask you whether you
      agree with or disagree with the statement: “If law enforcement officials
      arrest someone and charge that person with a crime, the person is
      probably guilty of that crime.”

7.     Do you believe that once a person is accused of a crime it is more than
likely that he or she is guilty of that crime?
       If yes, please explain.

8.    Has any experience left you with any strong feelings about people who
are charged with         crimes, the criminal justice system, law enforcement
or attorneys?
      If yes, please explain.

9.    Do you know anyone who agreed to cooperate with the prosecution in a
criminal case in order to get a reduced sentence or immunity?
      If yes, please explain.

10.   Do you know anyone that works for a court clerk’s office?

11.   If so, where?

12.   Are you familiar with looking up case information online?


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ADDITIONAL INFORMATION

24.   What clubs or organizations do you belong to?

25.   Have you ever volunteered for any charitable or other organization?

26.   Do you hold a leadership position in any organization?

27. What are your favorite television shows, or which shows do you
regularly watch?

28.   What TV station do you watch?

29.   Do you have any bumper stickers on your car?


                                                 Respectfully submitted,


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                        CERTIFICATE OF SERVICE

     I hereby certify that foregoing MICHAEL GRADY’S VOIR DIRE
QUESTIONS was served on March 15, 2021, in accordance with
Fed.R.Crim.P.49, Fed.R.Civ.P.5, LR 5.5, and the General Order on Electronic
Case Filing (ECF) pursuant to the district court's system as to ECF Filers.



                                                 /s/Joshua B. Adams
                                                 Joshua B. Adams




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